Case 2:18-cv-04968-MAK Document 18 Filed 02/07/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIDGESTONE BRANDS, LLC, etal. : CIVIL ACTION
V. : NO. 18-4968
PHILADELPHIA MOTORWORLD

AUTO SERVICE & TIRE CENTER,
INC,, e¢ al.

ORDER

AND NOW, this 7" day of February 2019, after the Defendants decided to not respond to
the Complaint under our January 8, 2019 Order (ECF Doc. No. 15), and considering the parties’
joint Response (ECF Doc. No. 17) to our show cause Order (ECF Doc. No. 16) representing they
reached a settlement agreement resolving this case but asking us to hold this case open until the
parties perform on an agreement, and similar to every other case in which there is a settlement
agreement and the parties must then perform consistent with their agreement as with any
enforceable contract, it is ORDERED the Clerk of Court shall dismiss and close this case under

Local Rule 41.1(b) as the parties have reached a settlement agreement.

Hee

KEARYRBY, J.

 

1 Local Rule 41.1(b) provides:

[aJny such order of dismissal may be vacated, modified, or stricken from the record, for
cause shown, upon the application of any party served within ninety (90) days of the entry
of such order of dismissal, provided the application of the ninety-day time limitation is
consistent with Federal Rule of Civil Procedure 60(c).
